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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISON


OCTAVIA RICE,
    Plaintiff,                                       CASE NO.: 3:18-cv-00007-MMH-MCR
vs.
FITNESS INTERNATIONAL, LLC d/b/a
LA FITNESS,
      Defendant.
                                              /

                                 NOTICE OF SETTLEMENT

       COMES NOW, Plaintiff, OCTAVIA RICE, by and through undersigned counsel, hereby
provides notice that Plaintiff and Defendant, FITNESS INTERNATIONAL, LLC, have reached a
resolution of the dispute that is the subject of this lawsuit. The parties are presently formalizing
the terms of that resolution into a written settlement agreement and will file an appropriate notice
of dismissal (anticipated within 30 days) upon the completion of certain obligations set forth in
their agreement.
                                                     /s/ Max Story, Esquire______
                                                     MAX STORY, ESQ.
                                                     Florida Bar: 0527238
                                                     328 2nd Avenue North, Suite 100
                                                     Jacksonville Beach, FL 32250
                                                     Telephone: (904) 372-4109
                                                     max@storylawgroup.com
                                                     Attorney for Plaintiff

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 7, 2018, I electronically filed the foregoing with Clerk
of the Court using the CM/ECF. I also certify that the foregoing document is being served this day
on all counsel either via transmission of Notices of Electronic Filing generated by CM/ECF or in
some other authorized manner for those counsel or parties who are not authorized to receive
electronically Notice of Electronic Filing.
                                                      /s/ Max Story, Esquire
                                                      Florida Bar No. 527238
